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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,                       CR NO. 17-00101 LEK
                                             
                     Plaintiff,
                                                ORDER DENYING DEFENDANT’S
              vs.                               SIXTH MOTION FOR ORDER TO
                                                SHOW CAUSE AND REQUEST
ANTHONY T. WILLIAMS (1),
                                                FOR EXPEDITED HEARING
                     Defendant.
                                                Trial: None set
                                             


 

      ORDER DENYING DEFENDANT’S SIXTH MOTION FOR ORDER
      TO SHOW CAUSE AND REQUEST FOR EXPEDITED HEARING

      Defendant Anthony Williams’s (“Defendant”) Sixth Motion for Order to

Show Cause and Request for Expedited Hearing (“Motion”) seeks an order

permitting Defendant to provide his standby counsel “with items for mailing in

regard to this defense of these charges and other legal matters that he is pursuing.”

ECF No. 37-1. As with prior motions challenging Defendant’s conditions of

confinement, however, Defendant fails to establish that he has exhausted the

Bureau of Prisons’ administrative process before challenging such conditions in

this Court.

      The Court previously explained this doctrine to Defendant. See, e.g., ECF

132, Order Denying (1) Motion for Order to Show Cause, and (2) Ex Parte
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Application and Motion for Funds to Purchase Legal Supplies at Government’s

Expense. The Court also previously ordered the Bureau of Prisons to provide

Defendant with the necessary administrative paperwork. Id. Accordingly, because

Defendant has not established that he has exhausted his administrative remedies,

the Court DENIES the Motion.

       IT IS SO ORDERED.

       DATED: Honolulu, Hawai‘i, November 23, 2018.


                                /S/ Kenneth J. Mansfield
                               Kenneth J. Mansfield
                               United States Magistrate Judge




    UNITED STATES V. WILLIAMS, CR NO. 17-00101 LEK; ORDER DENYING
    DEFENDANT’S SIXTH MOTION FOR ORDER TO SHOW CAUSE AND REQUEST
    FOR EXPEDITED HEARING

 




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